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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

                                           :
Frederic Windisch,                         :
                                             Civil Action No.: 2:18-cv-13367-RHC-
                                           :
                                             APP
                                           :
                     Plaintiff,            :
      v.                                   :
                                           :
Ally Financial, Inc.,                      :
                                           :
                     Defendant.            :
                                           :


                            NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that the parties in the above-captioned case

have reached a settlement. The Plaintiff anticipates filing dismissal of this action

with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: February 15, 2019

                                              Respectfully submitted,

                                              By __/s/ Sergei Lemberg________

                                              Sergei Lemberg, Esq.
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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 15, 2019, a true and correct copy of the
foregoing Notice of Settlement was served electronically by the U.S. District Court
Eastern District of Michigan Electronic Document Filing System (ECF) and that
the document is available on the ECF system.


                                      By /s/ Sergei Lemberg
                                            Sergei Lemberg, Esq.
